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NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

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CLEAR FORM

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

ANDREW TRAMPE, Individually and on behalf
of all others similarly situated,

Plaintiff(s),
v.
CD PROJEKT, S.A., ADAM MICHAL
KICINSKI, PIOTR MARCIN NIELUBOWICZ,
and MICHAL NOWAKOWSKI,
Defendant(s)

CASE NUMBER;

2:20-cv-11627-FMO-RAO

 

 

CERTIFICATION AND NOTICE
OF INTERESTED PARTIES
(Local Rule 7.1-1)

 

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for

James W. Gordley

 

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification

or recusal.

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

 

 

PARTY CONNECTION / INTEREST
James W. Gordley Movant
February 22, 2021 /s/Laurence M. Rosen
Date Signature

Attorney of record for (or name of party appearing in pro per):

James W. Gordley

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
